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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 11-cr-20698-SCOLA

  UNITED STATES OF AMERICA,

          Plaintiff,

  vs.

  AIMAN ARYAN et al.,

        Defendants.
  ____________________________________ /

        ORDER DENYING PETITION BY GLOBAL EXPRESS MONEY ORDERS, INC.
          THIS MATTER is before the Court on the Petition for Order Declaring Right, Title and
  Interest of Petitioner in $24,436.08 of Seized Funds Superior to the United States and Directing
  Release of Said Property to Petitioner [ECF No. 841], filed by Joseph J. Yurko as Vice President
  of Global Express Money Orders, Inc. This Motion is DENIED WITHOUT PREJUDICE.
          Global Express Money Orders, Inc. is a corporation and the instant Petition was filed by
  its Vice President, Joseph J. Yurko, without attorney representation. In the Eleventh Circuit,
  however, corporations may not be unrepresented by counsel in any case. See Palazzo v. Gulf Oil
  Corp., 764 F.2d 1381, 1385 (11th Cir. 1985) (“The rule is well established that a corporation is
  an artificial entity that can act only through agents, cannot appear pro se, and must be
  represented by counsel.”); Old Nat’l Bank v. Goldberg & Assocs., LLC, 2009 WL 813019, at *1
  n.1 (S.D. Fla. Mar. 23, 2009) (“It is well established in this Circuit that a corporation cannot
  appear pro se and must be represented by counsel.”). Therefore, the Petition must be denied,
  with leave to re-file if/when Global Express Money Orders, Inc. obtains attorney representation.


          DONE and ORDERED in Chambers at Miami, Florida on July 19, 2012.



                                                      ________________________________
                                                      ROBERT N. SCOLA, JR.
                                                      UNITED STATES DISTRICT JUDGE
  Copies to:
  U.S. Magistrate Judge Bandstra
  Counsel of Record (via CM/ECF)
  Global Express Money Orders, Inc.
     (address of record)
